MUS3518744.1
            Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 1 of 52




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    DEIDRA HUBAY, ROBERT LOSIENIECKI,                          )
    JESSICA DORANTES and ALEXIS                                )
    GABRIELLE HERRICK,                                         )       Civil Action No. 2:19-cv-01327-NR
                                                               )
                             Plaintiffs,                       )
          v.                                                   )
                                                               )       JURY TRIAL DEMANDED
    JANELLE MARINA MENDEZ, PAMELA                              )
    HEAL and MILITARY SEXUAL TRAUMA                            )
    MOVEMENT,                                                  )
                                                               )
                             Defendants.                       )

     PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

         AND NOW COME Plaintiffs Deidra Hubay, Robert Losieniecki, Jessica Dorantes, and

Alexis Gabrielle Herrick (collectively, “Plaintiffs”) by and through their attorneys, and

respectfully submit their Proposed Findings of Fact and Conclusions of Law in support of

Plaintiffs’ Motion for Declaratory Judgment:

I.       REQUESTED RELIEF

     1. Plaintiffs request this Honorable Court enter declaratory relief in favor of Plaintiffs and

         against Defendants that1:

                  a.       Plaintiff Robert Losieniecki has the exclusive right to ownership, control, and

         use of all photographs he took at the September Washington, D.C. trip (the “D.C. Photos”),

         including the twenty-six (26) photographs identified in Plaintiffs’ Complaint and attached

         as Exhibits A – ZZ thereto (the “Registered Photographs”).


1
  Plaintiffs’ prior Motion for Preliminary Injunction was converted to a Motion and Request for Declaratory Judgment
by the Court’s Order dated June 3, 2020. See ECF No. 61. This change obviates the need to establish irreparable harm
as part of the elements of Plaintiffs’ requested relief. The Plaintiffs’ requests for declaratory judgment do not address
the parties’ other tort claims, including claims for intentional infliction of emotional distress. As set forth in the
Court’s Order dated June 3, 2020. damage claims and other claims for relief also are reserved.
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 2 of 52




                  b.       The copyright registration owned by Robert Losieniecki identified as VA 2-

         173-194 and effective October 9, 2019 titled “DC 2019” for the Registered Photographs is

         valid.

                  c.       The copyright registration filed on behalf of Military Sexual Trauma

         Movement, Inc. (“MSTM”) identified as VA 2-176-197 and dated October 31, 2019 and

         titled “Military Sexual Trauma Movement takes on Washington D.C.” is invalid and should

         be stricken from the registration records of the U.S. Copyright Office.

                  d.       MSTM has no right to ownership, control, and use of any photographs taken

         by Plaintiff Losieniecki during the DC Trip, including the Registered Photographs.

                  e.       MSTM and Defendants Mendez and Heal do not have an exclusive license to

         the photographs taken by Plaintiff Losieniecki during the DC Trip, including the Registered

         Photographs.

                  f.       The Defendants Janelle Marina Mendez, Pamela Heal, and MSTM infringed

         upon Mr. Losieniecki’s copyright in the Registered Photographs by copying, publishing, and

         distributing Plaintiff Losieniecki’s Registered Photographs without his consent and after

         notice of Plaintiff Losieniecki’s rights.

                  g.       Defendants acted willfully in connection with their infringement of Plaintiff

         Losieniecki’s copyright.2

                  h.       Defendants shall not be and are not entitled to use the names and likenesses

         of Plaintiffs.3


2
  If this Honorable Court desires to defer considerations of “willfulness” for the damage phase of this case, Plaintiffs
are willing to do so.
3
  Defendants, through the testimony of Defendant Mendez, have agreed that they will not use the likenesses and names
of Plaintiffs. See Transcript of Declaratory Judgment Hearing on May 13, 2020, pg. 76. As such, this request for relief
does not appear to be in dispute. However, as set forth below, such use continues. Any references to the transcript of



                                                         -2-
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 3 of 52




                 i.       Plaintiffs Robert Losieniecki, Deidra Hubay, Jessica Dorantes and Alexis

        Gabrielle Herrick never entered into a written agreement with MSTM providing any

        Defendant with the right to use their names and/or likenesses from any source. 4

                 j.       Furthermore, to the extent that such permission may be implied or inferred as

        oral consent during their association with MSTM, Plaintiffs Deidra Hubay, Jessica Dorantes

        and Alexis Gabrielle Herrick effectively terminated any such implied consent on September

        14, 2019 and no later than when the Complaint in this matter was filed.

                 k.       Even if Plaintiffs Robert Losieniecki, Deidra Hubay, Jessica Dorantes and

        Alexis Gabrielle Herrick signed the Consent Form attached as Exhibit G to Defendants’

        Motion to Set Aside Clerk’s Entry of Default Judgment, this Consent Form does not any

        rights to MSTM to use the name and likeness of an executing party and any rights conveyed

        by this Consent Form were revoked and terminated by and through the resignations of

        Plaintiffs Deidra Hubay, Jessica Dorantes and Alexis Gabrielle Herrick on September 14,

        2019 and no later than when the Complaint in this matter was filed.

                 l.       Defendants Mendez Heal and MSTM used Plaintiffs Losieniecki’ s, Hubay’s,

        and Dorantes’s likenesses and names without permission to promote, benefit and obtain

        fundraising for MSTM and after notice of their rights and request for disassociation from

        MSTM.




the Declaratory Judgment hearing held before this Honorable Court on May 8 and 13, 2020 shall hereinafter be cited
to in the following manner: DJ Transcript, [date], pg. [#].
4
  Although no use of Plaintiff Herrick’s likeness and name by Defendants has been identified, Ms. Herrick requests a
declaratory judgment that her likeness and name not be used in the future. As noted below, Defendants continue to
possess personal information belonging to Ms. Herrick. See Findings of Fact 71.



                                                       -3-
            Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 4 of 52




                m.     Defendants misappropriated the names and likenesses of Plaintiffs Hubay

       and Dorantes by (i) portraying them in a false light – namely, that each continued to have an

       association with MSTM after their resignations from MSTM.

II.    FINDINGS OF FACT

       A.       The Parties.

       1.       Plaintiff Deidra Hubay (“Plaintiff” or “Ms. Hubay”) is an individual who resides at

2399 Rose Garden Road, Pittsburgh, Pennsylvania 15220. Ms. Hubay served in the United States

Marine Corps. (“USMC”), beginning in 2015, as a Single & Multichannel Transmissions Operator.

She left service honorably in 2018 as an E-4, Corporal. See ECF No. 1, ¶ 2; see also DJ Transcript,

May 8, 2020, pg. 74.

       2.       Plaintiff Robert Losieniecki (“Plaintiff” or “Mr. Losieniecki”) is an individual who

resides at 2399 Rose Garden Road, Pittsburgh, Pennsylvania 15220. Mr. Losieniecki is married

to Ms. Hubay. Mr. Losieniecki served in the USMC, beginning in 2015, as a Radio & TRC

Operator. He left service honorably in 2019 as an E-5, Sergeant, and is still currently a part of the

IRR (inactive reserve). See ECF No. 1, ¶ 3; see also DJ Transcript, May 8, 2020, pg.10.

       3.       Plaintiff Jessica Dorantes (“Plaintiff” or “Ms. Dorantes”) is an individual who

resided at 2677 Idlebrook Circle, Midway Park, North Carolina 28544 at the time this lawsuit was

filed and who now resides in Florida. Ms. Dorantes served in the USMC, from 2012-2016, as an

Aviation Supply Specialist and left service honorably as an E-4, Corporal. She was associated

with the Marines Aviation Logistics Squadron 16 at Miramar. From October 2016 to the present,

Ms. Dorantes is currently part of the inactive reserve as an E-5, Sergeant. Please see ECF No. 1,

¶ 3; see also DJ Transcript, May 8, 2020, pg. 218-19.




                                                -4-
            Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 5 of 52




       4.       Plaintiff Alexis Gabrielle Herrick (“Plaintiff” or “Ms. Herrick”) is an individual

who resides at 8079 Castle Rock Court, Pasadena, Maryland 21122. Ms. Herrick served in the

USMC, 2008 to 2012, as an Intelligence Analyst and left the service honorably as an E-4, Corporal.

She later served in the inactive reserves and left military service completely as an E-5, Sergeant.

See ECF No. 1, ¶ 5; see also DJ Transcript, May 8, 2020, pg. 225.

       5.       Upon information and belief, Defendant Janelle Marina Mendez (“Defendant

Mendez” or “Ms. Mendez”) is an individual who resides at 9K White Gate Drive, Wappingers

Falls, NY 12590. Defendant Mendez is identified as the Chief Executive Officer of Defendant

MSTM. See ECF No. 24, ¶ 6.

       6.       Upon information and belief, Defendant Pamela Heal (“Defendant Heal” or “Ms.

Heal”) is an individual who resided in the State of California at the time of filing this lawsuit.

Defendant Mendez is identified as the Executive Director of Civic Engagement of Defendant

MSTM. See ECF No. 24, ¶ 7; Counterclaim, ¶ 2. At some point during the beginning of 2020,

Defendant Heal resided with Defendant Mendez at 9K White Gate Drive, Wappingers Falls, NY

12590 with Defendant Mendez. In this respect, Defendants Mendez and Heal were physically at

the same location during the hearing.

       7.       Upon information and belief, Defendant MSTM is a New York not-for-profit

corporation, with a principal office at 9K White Gate Drive, Wappingers Falls, NY 12590 (the

residence of Defendant Mendez). See ECF No. 24, ¶ 8.

       8.       The MSTM is registered as a 501(c)(4) entity that focuses on lobbying elected

officials on all levels of government to enact policies that protect survivors of military sexual

trauma and other discriminatory policies. See ECF No. 24, Counterclaim, ¶¶ 3, 8.




                                               -5-
            Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 6 of 52




       B.       Plaintiffs’ Association with and Resignation from MSTM.

       9.       Plaintiffs Hubay, Dorantes and Herrick became associated with the MSTM as

unpaid volunteers in July of 2019. Plaintiffs Hubay, Dorantes and Herrick each held a position in

Senior Leadership during the planning of the DC Trip. See DJ Transcript, May 8, 2020, pg. 75-76,

175-176, 187, 228.

       10.      Defendants Mendez and MSTM did contemplate having employees for the

nonprofit organization, but Plaintiffs Hubay, Dorantes and Herrick were never paid for their

services. See DJ Transcript, May 8, 2020, pg. 75-77, 176, 187-88; see also Defendants’

Declaratory Judgment Hearing Exhibits 9 and 58b.

       11.      Prior to September 10, 2019, Plaintiffs had not met any of the individual

Defendants, or any of the other volunteers or supporters of the MSTM.             Meetings among

volunteers were conducted via Facebook Messenger (Video calls) and Google Hangouts using a

video call feature. The DC Trip was the first time that the parties met in person. See DJ Transcript,

May 8, 2020, pg. 14, 81-82, 180-181.

       12.      Plaintiffs Hubay, Dorantes and Herrick as members of the Senior Leadership Team

were not made aware that MSTM had a separate Board of Directors and the meeting minutes for

any Board of Director meetings were not publicly circulated. See DJ Transcript, May 8, 2020, pg.

83, 113-14, 179; see also DJ Transcript, May 13, 2020, pg. 69.

       13.      On September 14, 2019, Plaintiffs Hubay, Dorantes and Herrick resigned from

further association with the MSTM. See Plaintiffs’ Declaratory Judgment Hearing Exhibit 11; see

also DJ Transcript, May 8, 2020, pg. 94, 196, 233; see also ECF No. 24, Answer to Plaintiffs’

Complaint, ¶ 12.




                                                -6-
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 7 of 52




        14.     These resignations occurred as a result of an unscheduled protest at the Marine

Commandant’s house that took place during a scheduled trip to Washington, DC from September

10-14, 2019 (the “DC Trip”). See Plaintiffs’ Declaratory Judgment Hearing Exhibit 11; see also

DJ Transcript, May 8, 2020, pg. 94-97; 190-92; 233-34. A copy of the event schedule from

September 12-14 for the DC trip is attached to Plaintiffs’ Complaint as Exhibit A .

        15.     During the DC Trip, Defendant Mendez “added” to the planned events schedule by

organizing a protest in front of the house of the Commandant of the United States Marine Corps

on September 14, 2019. See Plaintiffs’ Declaratory Judgment Hearing Exhibits 7, 11; see also DJ

Transcript, May 8, 2020, pg. 94-97; 190-92; 233-34.

        16.     Plaintiffs Hubay and Dorantes expressed their disagreement with this unplanned

protest, and other volunteers within the MSTM expressed concern that such a protest would be

“dangerous.” In addition to being an unsafe location, Plaintiffs had concerns for retaliation insofar

as certain volunteers and supporters with the MSTM are either on active duty in the military or

have spouses that are on active duty. See DJ Transcript, May 8, 2020, pg. 91-94, 191-92.

        17.     Nonetheless, Defendants Mendez and Heal proceeded with the protest and engaged

in abusive and confrontational conduct at the house of the USMC Commandant on September 14,

2019. During this livestreamed video, Defendant Mendez made threats of harm directed to the

United States Marine Corps Commandant. See DJ Transcript, May 8, 2020, pg. 96-98; see also

Plaintiffs’ Declaratory Judgment Exhibits 11 and 26 (“I deserve to be Commandant more than you.

[...] I will come for you!”).

        18.     Plaintiffs Hubay, Dorantes and Herrick resigned later that same day after this

unscheduled protest was completed. See Plaintiffs’ Declaratory Judgment Exhibit 11.




                                                -7-
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 8 of 52




       19.     In connection with their written resignation, Plaintiffs Hubay, Dorantes and Herrick

each specifically stated to Defendant MSTM and its remaining members, including Defendants

Mendez and Heal, that: “I withdraw my consent for any and all pictures or use of my name

regarding the Movement and I decline consent for further use of my photos or name in any

fashion.” Please see Plaintiffs’ Declaratory Judgment Exhibits 11 and 53; see also DJ Transcript,

May 8, 2020, pg. 94-97; 190-92; 233-34.

       20.     In response to the registration by Plaintiff Hubay, Defendant Mendez responded

with a message stating: “okay that’s your [sic] right. I’ll respect it.” Please see Plaintiffs’

Declaratory Judgment Exhibit 11.

       C.      MSTM Did Not Request or Coordinate to Obtain Ownership of any
               Photographs Taken During the DC Trip.

       21.     Leading up to the DC Trip, Ms. Hubay, acting as the MSTM Executive Director of

Operations & Communications, contacted a cinematographer named Gwen Schroeder to shoot

video and take photographs for use by MSTM in promotional materials. See DJ Transcript, May

8, 2020, pg. 86-87.

       22.     MSTM never acquired any ownership or copyright interests in the video and

photographs taken by Ms. Schroeder because, although she was given free lodging during the DC

Trip, she did not sign a written agreement with MSTM and did not receive any compensation for

her work product. See DJ Transcript, May 8, 2020, pg. 86-87, 112, 183; see also See DJ Transcript,

May 13, 2020, pg. 66-69.

       23.     MSTM also did not and does claim rights in ownership to photographs taken by

other volunteers who were provided housing during the DC Trip, including those of Sandra Denice

Newton. See DJ Transcript, May 13, 2020, pg. 14, 65.




                                               -8-
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 9 of 52




       24.     Mr. Losieniecki did not enter into any written agreement with MSTM concerning

the provision of photography services for, or the transfer or license of photographs and associated

copyright interests to MSTM. See DJ Transcript, May 13, 2020, pg. 62; see also DJ Transcript,

May 8, 2020, pg. 19-20, 183-84.

       25.     There are no written communications from Mr. Losieniecki wherein he states or

otherwise indicates that he would be acting as a photographer for MSTM when he took

photographs during the DC Trip. See DJ Transcript, May 8, 2020, pg. 19-20, 183-84; see also DJ

Transcript, May 13, 2020, pg. 50-51, 62.

       26.     There are no written communications between Mr. Losieniecki and any

representative of MSTM stating or indicating that he would be acting as a photographer for MSTM

when he took photographs during the DC Trip. See DJ Transcript, May 8, 2020, pg. 19-20, 183-

84; see also DJ Transcript, May 13, 2020, pg. 50-51, 62.

       27.     While planning the DC Trip, Plaintiff Losieniecki was never identified as the

official MSTM photographer in any Senior Leadership meeting minutes. See DJ Transcript, May

8, 2020, pg. 177-78, 184-85.

       D.      Plaintiffs Did Not Consent to Indefinite Use by MSTM of Plaintiffs’ Likenesses
               and Names.

       28.     As the Executive Director of Operations & Communications, Plaintiff Hubay

drafted a Consent to Release of Information form to be executed by volunteers that talk to news

outlets on behalf of MSTM and to allow MSTM to advocate on their behalf and share their personal

stories. See DJ Transcript, May 8, 2020, pg. 113.

       29.     It was not a requirement for attendance during the DC Trip that each volunteer or

participant execute a Consent to Release of Information form, and Plaintiffs Hubay, Dorantes,




                                               -9-
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 10 of 52




Herrick and Losieniecki never executed any consent forms for MSTM. See DJ Transcript May 8,

2020, pg. 19, 28, 99, 188. The absence of this requirement was confirmed by Sandra Denice

Newton, a non-party witness. See DJ Transcript, May 13, 2020, pg. 10-11.

       30.     Even if signed, the Consent to Release of Information form shown at Defendants’

Declaratory Judgment Hearing Exhibit 34 does not provide for any language releasing the

signatory’s likeness or photos for use by MSTM. See DJ Transcript, May 8, 2020, pg. 111, 113;

see also Plaintiffs’ Declaratory Judgment Hearing Exhibit 25l.

       31.     MSTM previously developed a more detailed consent form that was specifically

intended to release the use of a signatory’s likeness in connection with specific media events. See

DJ Transcript, May 13, 2020, pg. 177-78. Additionally, the more detailed consent form that

references particular use were not provided to certain participants of the DC Trip until after the

trip. See DJ Transcript, May 13, 2020, pg. 162-63, 170-71. Defendants do not assert that Plaintiffs

executed this more detailed form.

       E.      Plaintiff Losieniecki Authored Photographs During the DC Trip for Which He
               Obtained a Copyright Registration.

       32.     During the trip, Mr. Losieniecki took numerous photographs for the personal

benefit of his wife. In particular, Mr. Losieniecki authored and took 817 photographs on September

13, 2019 and 557 photographs on September 12, 2019 (the “Losieniecki Photographs”). See DJ

Transcript, May 8, 2020, pg. 12-13; see also Plaintiffs’ Declaratory Judgment Hearing Exhibit 32.

       33.     Plaintiff Losieniecki obtained a copyright registration identified as VA 2-173-194

effective October 9, 2019 titled “DC 2019” for the Registered Photographs. See Defendants’

Declaratory Judgment Hearing Exhibit 1. This registration included the following, as identified

by their Exhibit No. to Plaintiffs’ Complaint:




                                                 - 10 -
        Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 11 of 52




 No.        Title            Publication Date           Identified Plaintiffs    Exhibit No.
  1.      IMG_8504          September 14, 2019           Hubay                       B
  2.      IMG_8870          September 16, 2019           Hubay; Dorantes             C
  3.      IMG_8591          September 19, 2019           Hubay                       D
  4.      IMG_8430          September 19, 2019           Hubay                       E
  5.      IMG_8548          September 20, 2019           Hubay                        F
  6.      IMG_8586          September 19, 2019           Hubay                       G
  7.      IMG_8508          September 19, 2019           Hubay                       H
  8.      IMG_8433          September 19, 2019           Hubay                        I
  9.      IMG_8804          September 19, 2019           Hubay; Dorantes              J
 10.      IMG_9017          September 16, 2019                                       K
 11.      IMG_8462          September 16, 2019                                       L
 12.      IMG_8888          September 19, 2019           Hubay; Dorantes             M
 13.      IMG_8604          September 20, 2019                                       N
 14.      IMG_8536          September 20, 2019           Hubay                       O
 15.      IMG_8437          September 20, 2019                                        P
 16.      IMG_8501          September 20, 2019           Hubay                       Q
 17.      IMG_8638          September 20, 2019                                       R
 18.      IMG_8816          September 20, 2019           Hubay; Dorantes             S
 19.      IMG_8752          September 20, 2019           Hubay                       T
 20.      IMG_8620          September 20, 2019           Hubay                       U
 21.      IMG_8708          September 20, 2019                                       V
 22.      IMG_8688          September 20, 2019           Hubay                       W
 23.      IMG_8645          September 20, 2019                                       E
 24.      IMG_8421          September 20, 2019                                       Y
 25.      IMG_8907          September 20, 2019           Hubay; Dorantes             Z
 26.      IMG_8644          September 20, 2019                                       AA

See DJ Transcript, May 8, 2020, pg. 12. Defendants’ Declaratory Judgment Hearing Exhibit 2.




                                            - 11 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 12 of 52




         F.      Defendants Copied, Distributed and Published the Registered Photographs
                 Without Authorization and also Continued to Use the Likenesses and Names
                 of Plaintiffs.

         34.     Twenty-six of the Registered Photographs have been infringed by Defendants’

unauthorized copying, publication and distribution to third parties without Mr. Losieniecki’s

permission. See DJ Transcript, May 8, 2020, pg. 12-13, 100-01; see also Plaintiffs’ Declaratory

Judgment Hearing Exhibits 5, 6, and 12.

         35.     At the time of the filing of the Complaint, such infringements were identified at

Table 2 and Exhibits BB, CC and GGG-TTT of Plaintiffs’ Complaint, as follows:

                                                             Published              Responsible           Exhibit
       Published Location             Abbreviation
                                                            Photographs5            Defendants
    MSTM Website                                               8504, 8591,               All               GGG
    https://www.endmst.org/          MSTM-WEB                  8708, 8870
    (cover slideshow)
    Defendant Mendez's                                         8870, 8591,       Mendez, MSTM              HHH
    personal Instagram >             JMM-INSTA-                8508, 8433,
    inside the story titled          FIGHT                        8804
    "Fight" @janelle_mendez
    Defendant Mendez's                                         8504, 8870,       Mendez, MSTM                III
    personal Instagram               JMM-INSTA                 8430, 8548,
    @janelle_mendez                                               8586
    Defendant Mendez                                           8870, 8591,       Mendez, MSTM                JJJ
    political candidate              JMM-FB-PC                 8430, 8856,
    Facebook page                                                 8504
                                                               8504, 8870,       Mendez, MSTM              KKK
    Defendant Mendez
                                                               8548, 8586,
    personal Facebook page,
                                     JMM-FB-PER                8433, 9017,
    including her album
                                                               8462, 8645,
    “#MSTMTakesDC
                                                                  8644
    MSTM Official Instagram                                       8604                   All                LLL
                                     MSTM-INSTA
    @militarysexualtrauma



5
  The Exhibits identified with the Published Photographs in the first Table also include the corresponding copies of
these photographs as published by the Defendants in the identified locations.



                                                      - 12 -
        Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 13 of 52




                                                   Published         Responsible        Exhibit
     Published Location         Abbreviation
                                                  Photographs5       Defendants
  MSTM official Instagram                             8504, 8870,         All           MMM
  > inside the story titled    MSTM-                  8591, 8430,
  "Washington DC"              INSTA-DC               8433, 8508,
  @militarysexualtrauma                                  8586
                                                      8591, 8430,         All            NNN
                                                      8548, 8804,
                                                      8888, 8604,
  Defendant Heal's personal                           8536, 8437,
  Facebook album titled        PH-FB-ALBM             8501, 8638,
  "#MSTMTakesDC"                                      8816, 8620,
                                                      8708, 8688,
                                                      8645, 8421,
                                                      8907, 8508,
  MSTM Official Facebook                                 8508             All            OOO
                               MSTM-FB
  Page
  Defendant Heal's personal                              8816             All            PPP
  Instagram at “#endMST”
                               PH-INSTA
  story and on regular page
  @therealpamelaheal
  Defendant Heal's personal                              8421             All            QQQ
  Facebook page outside of
                               PH-FB
  PH-FB-ALBM
  @therealpamelaheal
  Defendant Mendez's                                     8870       Mendez, MSTM         RRR
  personal Facebook cover      JMM-FB-CVR
  photo

  Defendant Heal's personal                              8888             All            SSS
                               PH-FB-CVR
  Facebook Cover Photo

  Email sent by Defendant                             8504, 8870,         All            TTT
  Mendez from MSTM with                               8804, 8548
  noted photographs and        MSTM-
  asking people to buy         EMAIL
  tickets for “next year’s
  event.”

See Plaintiffs’ Declaratory Judgment Hearing Exhibits 3, 4 and 6; see also DJ Transcript, May 8,

2020, pg. 20, 103.



                                             - 13 -
            Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 14 of 52




          36.     At the time of the filing of the Complaint, Defendants also were continuing to use

the names and likenesses of Plaintiffs, as identified at Table 3 and Exhibits EE – FFF of Plaintiffs’

Complaint. They are identified as follows:

    No.          Title               Published Location                Identified Plaintiffs       Exhibit No.
     1.         IMG-01              JMM-INSTA-FIGHT                      Hubay                          EE
     2.         IMG_02            MSTM's Official Twitter                Hubay                          FF
                                    @MSTMovement
     3.         IMG_03          Defendant Mendez's Personal              Hubay                          GG
                                 Twitter @janelle_marina
     4.    McSally Letter               MSTM-WEB                         Hubay; Dorantes                HH
                                     EndMST.org/mcsally
     5.         IMG_04                  MSTM-INSTA                       Dorantes                        II
     6.         IMG_05              JMM-INSTA-FIGHT                      Hubay                           JJ
     7.         VID_2                     PH-INSTA                       Hubay                         KK6
     8.     Commandant                MSTM-WEB                           Hubay                          LL
              Request             EndMST.org/request_usmc
     9.         IMG_06                  MSTM-INSTA                       Hubay                         MM
    10.     Screenshot of           JMM-INSTA-FIGHT                      Hubay; Dorantes                NN
            McSally Letter
          (use of signatures)
    11.         VID-03                    PH-INSTA                       Hubay                          OO
    12.         IMG_07                  MSTM-INSTA                       Hubay                          PP
    13.         TGD_1               JMM-INSTA-FIGHT                      Hubay                          QQ
    14.         IMG_08           MSTM-INSTA / PH-INSTA                   Hubay                        RR/OO
    15.         VID_04           MSTM-INSTA / PH-INSTA                   Hubay; Dorantes              SS/OO
    16.         TGD_02              JMM-INSTA-FIGHT                      Hubay                          TT
    17.         IMG_09              JMM-INSTA-FIGHT                      Hubay                          UU
    18.         VID_05                    PH-INSTA                       Hubay; Dorantes                VV
    19.         IMG_10           MSTM-INSTA / PH-STORY                   Dorantes                    WW/BB
    20.         IMG_11                    PH-INSTA                       Hubay; Dorantes                XX
    21.         IMG_12                  MSTM-INSTA                       Hubay                          YY

6
  The attached Exhibits for VID_2 – VID_8 show a screen shot of the initial frame show in the respective video; the
likeness and/or name of the Identified Plaintiffs are shown in the video.



                                                      - 14 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 15 of 52




 No.          Title             Published Location           Identified Plaintiffs   Exhibit No.
 22.         IMG_13                  PH-INSTA                  Dorantes                   ZZ
 23.         IMG_14               MSTM-INSTA                   Hubay                    AAA
 24.         VID_06                  PH-INSTA                  Hubay                     BBB
 25.         IMG_16        MSTM-INSTA / MM-INSTA               Hubay; Dorantes         CCC/CC
 26.         VID_07                  PH-INSTA                  Dorantes                 DDD
 27.         IMG_17        MSTM-INSTA / MM-INSTA               Hubay; Dorantes         EEE/CC
 28.         VID_08                  PH-INSTA                  Dorantes                  FFF

See DJ Transcript, May 8, 2020, pg. 100-01; Plaintiffs’ Declaratory Judgment Hearing Exhibit 5.

       37.     As of the date the hearings in this action, a number of the Registered Photographs,

together with likenesses and names of the Plaintiffs, were still being distributed and published by

the Defendants. See Plaintiffs’ Declaratory Judgment Hearing Exhibits 12 and 30; see also DJ

Transcript, May 8, 2020, pg. 22-24, 215-217.

       38.     Defendants copied, distributed and published the Registered Photographs,

including the likenesses and/or names of Plaintiffs Losieniecki, Hubay and Dorantes, for purposes

of promoting and fundraising for MSTM. See, e.g., Complaint, Ex. TTT (specific fundraising

request). More generally, all postings on the MSTM website and social media pages benefitted

the mission and fundraising efforts of MSTM, as did the posting on individual social media sites.

See DJ Transcript, May 13, 2020, pg. 111. See also Plaintiffs’ Declaratory Judgment Exhibits 27

and 28. Further, Defendant Mendez testified that she sought to copyright the photographs (many

of which contain likenesses of Plaintiffs Hubay and Dorantes) for marketing purposes. See DJ

Transcript, May 13, 2020, pg. 111.

       G.      Defendants Copied Plaintiffs’ Photographs Without Permission.

       39.     On the evening of September 13, 2019, Defendant Mendez, without permission or

authorization from Plaintiff Losieniecki, copied and downloaded photographs from one (1) of the



                                               - 15 -
        Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 16 of 52




SIM cards from Mr. Losieniecki’s camera, which included a portion of the Losieniecki

Photographs. See DJ Transcript, May 8, 2020, pg. 20-22, 103 – 105.

       40.    In particular, Defendant Mendez requested if she could see and review the

photographs that had been taken by Mr. Losieniecki over the course of the trip. Mr. Losieniecki

consented, and they began reviewing the photographs together on Mr. Losieniecki’s computer. See

DJ Transcript, May 8, 2020, pg. 20-22, 103 – 105.

       41.    At some point, Mr. Losieniecki stepped outside to speak to his wife, Ms. Hubay,

and during that time period Defendant Mendez removed one SIM card from Mr. Losieniecki’s

computer and took the other SIM card laying next to his computer downstairs and proceeded to

download and/or copy photographs from at least one of the SIM cards. See DJ Transcript, May 8,

2020, pg. 20-22, 103 – 105, 186.

       42.    Mr. Losieniecki realized that the SIM cards were missing and requested that his

wife, Ms. Hubay, retrieve them from Defendant Mendez. See DJ Transcript, May 8, 2020, pg. 20-

22, 103 – 105, 186.

       43.    Defendant Mendez, at no time, asked for permission or authorization to download,

copy, publish or distribute any of the Losieniecki Photographs, and no such permission or

authorization was given by Mr. Losieniecki. See DJ Transcript May 8, 2020, pg. 20-22, 103 – 105,

186. When he became aware of the postings of the Registered Photographs by Defendants, he

provided notice to them of his ownership rights and requested that Defendants stop posting his

photographs. Defendants’ Declaratory Judgment Hearing Exhibit 10.

       44.    Mr. Losieniecki is the sole author of all of the Losieniecki Photographs, including

the Registered Photographs, and of all the Losieniecki Photographs located on the aforementioned

SIM cards. See DJ Transcript, May 8, 2020, pg. 18-20.



                                             - 16 -
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 17 of 52




         H.       Plaintiff Losieniecki Was Not an Employee of MSTM.

         45.      Plaintiff Losieniecki accompanied his wife, Plaintiff Hubay, on the DC Trip in

order to support the volunteer efforts of Ms. Hubay. Plaintiff Losieniecki did not have a recognized

volunteer position with the MSTM and had no involvement with the organization prior to the DC

Trip. See DJ Transcript, May 8, 2020, pg. 18-20, 34, 68.

         46.      Defendants have provided no evidence to support their contention that Plaintiff

Losieniecki was an “official” volunteer and/or employee of MSTM prior to the DC Trip due to

alleged “counterintelligence work” he did for the organization. As such, this contention is not

credible. See DJ Transcript, May 8, 2020, 150, 152-53.7

         47.      Each “official” volunteer of MSTM was required to complete an on-boarding form.

Mr. Losieniecki did not complete such a form. See DJ Transcript, May 8, 2020, pg. 228-30; See

DJ Transcript, May 13, 2020, pg. 159, 161. Documents produced by Defendants show such a form

for Plaintiff Herrick was retained by MSTM. See Plaintiffs’ Declaratory Judgment Hearing Exhibit

59.

         48.      Additionally, in order to boost membership numbers for the fledgling MSTM

organization, Plaintiff Hubay entered the personal contact information of her husband, Plaintiff

Losieniecki, into the NationBuilder site used by MSTM leadership to organize their volunteer

membership email list without Plaintiff Losieniecki’s knowledge. See DJ Transcript, May 8, 2020,

pg. 80-81.




7
 There is no written corroboration that Plaintiff Losieniecki was involved in any in such actions, and no such assertion
was made until the hearing.



                                                        - 17 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 18 of 52




       49.       In order to be excused from his university course work and attend the DC Trip,

Plaintiff Losieniecki was provided with an excusal letter from MSTM that was drafted and signed

by Defendant Mendez and sent to Plaintiff Hubay. See ECF No. 37-1, ¶ 9.

       50.       Before providing this letter to his professors, Plaintiff Losieniecki did not carefully

review the content of the MSTM excusal letter, and he did not notice that it identified him as the

“photographer on duty.” See DJ Transcript, May 8, 2020, pg. 25-27.

       51.       While Plaintiff Hubay prepared excuse letters for other MSTM volunteers,

Defendant Mendez revised the general substance of these prior letters and drafted the language

specific to Plaintiff Losieniecki. See DJ Transcript, May 13, 2020, pg. 70-71; see also May 8,

2020, pg. 158.

       52.       Senior Leadership members, including Plaintiffs Hubay and Dorantes, were

provided lodging for the DC Trip and were required to agree to the “house rules” for each

accommodation. These rules were created for each lodging location to limit MSTM’s liability in

case of property damage at the locations. See DJ Transcript, May 8, 2020, pg. 111-12, 194-95; see

also Plaintiffs’ Declaratory Judgment Hearing Exhibit 31. These rules do not include any (i)

assignment of rights to photographs, (ii) language concerning a “work made for hire” relationship,

or (iii) consent as to use of one’s likeness or name.

       53.       Plaintiff Losieniecki shared a bed with his wife, Plaintiff Hubay, while on the DC

Trip. At no time was Plaintiff Losieniecki told that he was being provided lodging in exchange for

taking photographs on behalf of MSTM during the DC Trip. See DJ Transcript, May 8, 2020, pg.

27-28. Defendants have not sought or requested ownership of photographs taken by other

volunteers at the DC Trip, including those such as Ms. Newton, who also received free housing.




                                                 - 18 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 19 of 52




DJ Transcript, May 13, 2020, pg. 14 (Ms. Newton testimony as to her and others taking photos)

and 66 (Defendant Mendez testimony as to no claim to photos of others).

       54.     Contrary to statements made by Defendants in their pleadings, the two camera SIM

cards that were used by Mr. Losieniecki were not purchased by MSTM or Defendants Mendez and

Heal. See DJ Transcript, May 8, 2020, pg. 28-29. Instead, they were purchased and previously

used by Defendant Hubay. See DJ Transcript, May 8, 2020, pg. 17, 29, 118; see also Plaintiffs’

Declaratory Judgment Hearing Exhibit 32.

       55.     Contrary to statements made by Defendants in their pleadings, a one hundred and

twenty-nine dollar ($129) payment made from Defendant Mendez to Plaintiff Hubay was a

reimbursement for two (2) cartridges of ink and groceries that Ms. Hubay had purchased during

the D.C. Trip. See DJ Transcript, May 8, 2020, pg. 119; see also Plaintiffs’ Declaratory Judgment

Hearing Exhibit 57.

       56.     Mr. Losieniecki had no skill in taking photographs and attended the D.C. Trip

solely to be supportive of his wife, Ms. Hubay, and her interests. See DJ Transcript, May 8, 2020,

pg. 18-20, 34, 68.

       57.     The camera and SIM cards used by Mr. Losieniecki to take photographs during the

D.C. Trip belonged to Ms. Hubay, and the SIM cards had prior personal photographs on them

before being deleted for use during the D.C. Trip. No other photography equipment was provided

by MSTM or Defendants Mendez and Heal. See DJ Transcript, May 8, 2020, pg. 17, 117-18.

       58.     Plaintiff Losieniecki was never an “official” volunteer of MSTM, did not provide

any services to MSTM, and had no relationship with MSTM other than his connection to his wife,

Plaintiff Hubay. When Plaintiffs Hubay, Dorantes, and Herrick resigned from MSTM on




                                              - 19 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 20 of 52




September 14, 2019 Plaintiff Losieniecki did not publicly resign as he was never affiliated with

the organization. See DJ Transcript, May 8, 2020, pg. 117.

       59.     At no time before, during or after the DC Trip did Defendants Mendez, Heal or

MSTM have the right to assign additional tasks and/or projects to benefit MSTM to Plaintiff

Losieniecki, and Defendants have provided no evidence to support such a claim.

       60.     At no time before, during or after the DC Trip did Defendants Mendez, Heal or

MSTM have discretion over when and how long Plaintiff Losieniecki would take photographs,

and Defendants have provided no evidence to support such a claim. Additionally, Defendants did

not direct Plaintiff Losieniecki’s work. See DJ Transcript, May 8, 2020, pg. 17-18.

       61.     Plaintiff Losieniecki was never compensated for any of the photographs he took

during the DC Trip and never intended to profit from the photographs taken at the DC Trip. See

DJ Transcript, May 8, 2020, pg. 20, 54. Furthermore, to the extent that Plaintiff Losieniecki

received any alleged recognizable compensation – in the form of lodging donated by a third party

- for the photographs taken during the DC Trip, this exchange created – at best – an oral

independent contractor relationship.

       62.     Plaintiff Losieniecki is not a professional photographer, and Defendants have

offered no proof that Plaintiff Losieniecki is regularly engaged and paid as a photographer. See DJ

Transcript, May 8, 2020, pg. 10-11.

       63.     Photography is not a “regular business” for MSTM; indeed, MSTM is not a

business. See Defendants’ Declaratory Judgment Hearing Exhibit 9.

       64.     MSTM neither provided any benefits nor issued any tax forms to Plaintiff

Losieniecki for the alleged compensation received from MSTM. See DJ Transcript, May 8, 2020,

pg. 18-20; see also DJ Transcript, May 13, 2020, pg. 61.



                                              - 20 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 21 of 52




        65.      As such, Plaintiff Losieniecki was not an employee of MSTM either before, during

or after the DC Trip.

        I.       Plaintiffs Did Not Delete MSTM Records.

        66.      After resigning from MSTM, Plaintiffs Hubay, Dorantes, and Herrick attempted to

remove only their own personally identifiable information from the MSTM Google Drive in order

to disassociate themselves with the organization. See DJ Transcript, May 8, 2020, pg. 171-72, 206.

        67.      At no time did Plaintiffs Hubay, Dorantes, and Herrick remove any MSTM HR

files or signed Consent to Release of Information forms from the MSTM Google Drive.

        68.      Defendants have provided no evidence to support their allegation that Plaintiffs

Hubay, Dorantes, and Herrick removed any MSTM documents or information, including any

signed Consent to Release of Information forms for MSTM volunteers subsequent to their

resignation on September 14, 2019. As such, this contention is not credible. See DJ Transcript,

May 13, 2020, pg. 45, 144.

        69.      Defendants did not coordinate any forensic review of the MSTM Google Drive in

order to confirm any file deletions. See DJ Transcript, May 13, 2020, pg. 45, 144. Defendants

expressed a concern for the costs of such a review but provided no information on efforts to secure

a quote or estimate.8

        70.      Further, Defendant Mendez stated to Plaintiff Herrick that 90% of MSTM files had

been located at of September 23, 2019. See DJ Transcript, May 13, 2020, pg. 43.




8
 To the extent that Defendants’ assertion of file deletions impacts the Court’s analysis in any way, Plaintiffs are
willing to pay a portion of the costs for a forensic review of the MSTM Google Drive.



                                                      - 21 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 22 of 52




       71.      Despite Defendants’ allegations of deletion, files produced by Defendants in this

litigation include records of Plaintiffs Losieniecki and Herrick and consent forms signed by Lisa

Nolasco. See Plaintiffs’ Declaratory Judgment Hearing Exhibits 25l and 59.

       J.       The Testimony of Defendant Mendez Is Not Credible.

       72.      Defendants have provided the Court with various conflicting and changing claims

and theories regarding the validity of their copyright claim from the beginning of this action. A

timeline of Defendant Mendez’s conflicting assertions regarding the status of Plaintiff Losieniecki

and his photographs is stated below:

             a. September 18, 2019: MSTM sends a “Notice to Cease and Desist” to Plaintiffs

                Hubay, Dorantes, and Herrick. Regarding the photographs at issue there is: 1) no

                mention of payment for the photographs; 2) an allegation that one (1) SIM card was

                handed to Defendant Mendez and not purchased; 3) a reference to the fact that the

                photographs were taken on public property and that MSTM had “signed consent

                forms” from Plaintiffs Hubay, Dorantes, and Herrick; and 4) no mention of Plaintiff

                Losieniecki’s “employment” with MSTM. The letter indicates that Plaintiffs were

                volunteers and were provided housing for the D.C. Trip. Please see Plaintiffs’

                Declaratory Judgment Hearing Exhibit 23a.

             b. Defendants were advised of Mr. Losieniecki’s copyright of the photographs and

                that no work made for hire agreement existed on October 3, 2019. Please see DJ

                Transcript, May 13, 2020, pg. 43; see Plaintiffs’ Declaratory Judgment Hearing

                Exhibit 24.

             c. Defendant Mendez corresponds with Attorney Oberdick on October 4, 2019

                regarding Plaintiffs’ alleged infractions and the photographs at issue. Defendants



                                               - 22 -
Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 23 of 52




    state that Plaintiff Losieniecki gave “verbal consent … that all photos taken by

    [him] during his stay in Washington, D.C. were to be the property of MSTM.”

    Furthermore, this is the first time that payment in the form of “staff lodging” in

    exchange for Plaintiff Losieniecki’s “volunteer services” is discussed. Please see

    Plaintiffs’ Declaratory Judgment Hearing Exhibit 25p.

 d. October 8, 2019: Defendant Mendez applies for a copyright registration for the

    photographs at issue and originally indicates that MSTM was the author of

    photographs (while she is the claimant) and that the photographs were a “work

    made for hire”. Please see Plaintiffs’ Declaratory Judgment Hearing Exhibit 33.

 e. October 31, 2019: Email correspondence from Defendant Mendez to the United

    States Copyright Office indicates the assertion of Defendant Mendez that MSTM

    “purchased 2 SD cards full of photos” as the basis for MSTM’s ownership and that

    “because we purchased the SDs which are real property we do not need a written

    agreement”. Please see Plaintiffs’ Declaratory Judgment Hearing Exhibit 33.

 f. November 1, 2019: Email exchange between the United States Copyright Office to

    Defendant Mendez indicating that there are issues with her copyright application

    and discussing authorship and work made for hire status and questioning how the

    copyright for the photos was legally transferred. Defendant Mendez now alleges to

    the United States Copyright Office that Plaintiff Losieniecki was a “registered

    volunteer” who took photos on behalf of MSTM, without explaining whether a

    “registered volunteer” is an independent contractor who was paid for the

    photographs or an employee. In response, the Copyright Office indicates that “it

    appears that the photographs are ‘works made for hire’ and MSTM should be



                                  - 23 -
Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 24 of 52




    named as both the author and the claimant.” Please see Plaintiffs’ Declaratory

    Judgment Hearing Exhibit 33. This determination made by the United States

    Copyright Office is not legally determinative and was based on false information

    provided to the United States Copyright Office that has not been corrected

    (specifically, no payment was made to Plaintiff Losieniecki for the camera cards).

    Importantly, the examiner never identifies Plaintiff Losieniecki as an employee of

    MSTM and leaves open work made for hire status as an independent contractor.

 g. January 2, 2020: Defendants file a Motion to Set Aside Plaintiffs’ Default

    Judgment. In the Affidavit filed on behalf of Defendant Mendez she indicates that

    she paid Plaintiff Hubay $129.00 via Facebook cash transfer on September 13, 2019

    for the purchase of two (2) SIM cards that contained the photographs at issue.

    Defendant Mendez also alleges that Plaintiff Losieniecki was an “official

    volunteer” and was provided with staff lodging “at MSTM’s expense for his

    services.” Please see ECF No. 17-2. Defendants also asserted that they bought two

    blank cards for use by Mr. Losienieki and that Defendants continue to possess the

    SIM cards he used to take the photographs.

 h. In Plaintiffs’ Motion for Preliminary Injunction, an unblocked Facebook

    communication between Plaintiffs Hubay and Defendant Mendez was attached as

    an Exhibit. This communication confirms that the $129 payment related to

    groceries and printer ink. See ECF No. 36-1. See also Plaintiffs’ Declaratory

    Judgment Exhibit 57.

 i. In subsequent correspondence, Plaintiffs’ counsel asked if the claim to payment of

    $129 for the camera cards was going to be withdrawn. In response, Defendants’



                                   - 24 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 25 of 52




                counsel stated that Defendants were not withdrawing said allegation as they

                “believed that it was unnecessary[.]” See Correspondence between Plaintiffs’

                counsel and Defendants’ counsel dated March 11, 2020 and March 12, 2020 and

                attached hereto as Exhibits A and B, respectively.

             j. An expert analysis by bit-x-bit, LLC confirms that Mr. Losieniecki used older SIM

                cards for the photographs and that he continues to possess the original cards. Please

                see Plaintiffs’ Declaratory Judgment Hearing Exhibit 32. Thus, Defendants falsely

                claimed that they either (i) purchased new cards for him, or (ii) bought the cards

                from him. This argument was not abandoned by Defendants until Plaintiffs

                obtained a forensic review of the SIM cards.

             k. It was only during her testimony at the Declaratory Judgment proceedings that

                Defendant Mendez stated that she misremembered what the $129 payment to

                Plaintiff Hubay was for and had made a “mistake.” Please see DJ Transcript, May

                13, 2020, pg. 63-64, 100. Defendant Mendez also testified, without forensic

                corroboration or other common sense explanation that she could not access her

                prior Facebook messages because she no longer had the phone on which the

                message were made. Id. at 63. It is unclear how she is currently able to access the

                same Facebook account on other electronic devices without accessing prior

                messages, and Plaintiffs submit that this “explanation” is contrived. See also

                Plaintiffs’ Declaratory Judgment Exhibit 42

       73.      The testimony provided by Janelle Marina Mendez during the Declaratory

Judgment proceeding is found to be not credible because of the above inconsistencies and

contradictions and, further, because:



                                               - 25 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 26 of 52




             a. Defendant Mendez testified to having memory issues associated with her Post

                  Traumatic Stress Disorder. Please see DJ Transcript, May 13, 2020, pg. 100.

             b. In Defendants’ Motion for Preliminary Injunction, now converted to a Motion for

                  Declaratory Judgment, Defendants alleged that Defendant Mendez “drafted a

                  school excusal letter on behalf of Plaintiff, Losieniecki, naming him the

                  photographer on duty for Defendant, MSTM.” However, Defendant Mendez then

                  testified that she did not draft the school excusal letter for Plaintiff Losieniecki and

                  instead testified that she “went in and made whatever edits I wanted to make” and

                  then approved it. Please see DJ Transcript, May 13, 2020, pg. 70-71.

             c. Defendant Mendez testified that Plaintiff Hubay was actively publicizing the

                  lawsuit and providing information to be posted in social media groups geared

                  towards female marines. Please see DJ Transcript, May 13, 2020, pg. 117.

                  However, Defendant Mendez was actively and intentionally orchestrating the leak

                  of information regarding the lawsuit into these same female marines’ groups.

                  Indeed, Defendant Mendez admitted that she wanted to post information into these

                  groups “anonymously” as she did not want Plaintiffs to know she was providing

                  the information. Please see Declaration of Casandra Johnson-Ralph dated June 8,

                  2020 and attached hereto as Exhibit C.9 Defendant Mendez otherwise sought to

                  draw attention to the lawsuit in other postings. Defendants’ Declaratory Judgment

                  Hearing Exhibits 18 and 20.




9
  This testimony was not available at the time of the hearing and Plaintiffs’ move to open or enlarge the record to
receive this additional evidence. Plaintiffs also are open to presenting the testimony of Ms. Johnson-Ralph as a live
witness so that cross-examination can occur.



                                                       - 26 -
Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 27 of 52




 d. Defendants Mendez and Heal otherwise testified, without any documentary support

    or corroboration that MSTM was being criticize and Defendants were otherwise

    being harassed online. See DJ Transcript, May 13, 2020, pg. 86-87, 139-40. Further,

    as set forth in Finding of Fact 73(c), such criticisms occurred because Defendants

    Mendez and Heal drew attention to themselves and MSTM by posting on social

    media and asking others to do that same. See Plaintiffs’ Declaratory Judgment

    Hearing Exhibit 60.

 e. At Paragraph 10 of Defendants’ Counterclaim, they allege that Mr. Losieniecki

    “was provided staff lodging at MSTM’s expense for his services.” There is no

    evidence supporting the allegation that MSTM incurred any expense for such

    lodging, Instead, it was donated. See DJ Transcript, May 8, 2020, pg. 55, 77-78.

 f. Ms. Mendez submitted an affidavit for execution by Sandra Denice Newton that

    contained numerous false statements relating to, inter alia, Plaintiff Losieniecki’ s

    role at the DC Trip, consent agreements and silencing of survivors. See DJ

    Transcript, May 13, 2020, pg. 19-24. See also Plaintiffs’ Declaratory Judgment

    Exhibits 54 and 55. Defendant Mendez also falsely stated that Plaintiffs initiated

    the present litigation in order to “profit” on the photographs. Id. at 25. See also

    Plaintiffs’ Declaratory Judgment Exhibit 56.

 g. Defendants did not, until the time of the hearing, concede that they will no longer

    use the likenesses and names of the Plaintiffs, but only after months of disputes

    over such use. See DJ Transcript, May 13, 2020, pg. 76, 79. Further, despite

    testimony by Defendant Mendez at the hearing, Defendants continue to use the

    Registered Photographs, together with the likenesses/names of Plaintiffs Hubay,



                                    - 27 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 28 of 52




                 Dorantes and Herrick, as detailed in an email from Plaintiffs’ counsel to

                 Defendants’ counsel. See Correspondence from Plaintiffs’ counsel to Defendants’

                 counsel dated May 27, 2020 and attached hereto as Exhibit D.

        74.      Based on the findings set forth in Findings of Fact 72 and 73, Defendants

infringement of the Registered Photographs was willful. Defendants have, inter alia,

misrepresented facts to the Copyright Office and this Court concerning the MSTM work made for

hire claim and have sought to perpetuate this litigation while only making concessions as to prior

false statements and asserted rights to use at the hearing.

        75.      Defendants’ willful conduct is further evidenced by Defendants’ threats of both

civil and criminal proceedings against Plaintiffs. See Plaintiffs’ Declaratory Judgment Exhibits

23a-e, 25a-p, 37 and 50.

        K.       Defendants’ Use of Plaintiffs’ Likenesses and Names Have Benefitted

        Defendants and Put Plaintiffs in a False Light.

        76.      Defendants have and continue to use the Registered Photographs and the

likenesses/names of Plaintiffs to promote and obtain fundraising for MSTM. See DJ Transcript,

May 13, 2020, pg. 111 (testimony by Defendant Mendez that the photographs were copyrighted

by MSTM for marketing purposes).10 See also Findings of Fact 38, supra.




10
  Defendant Mendez testified that she wanted to copyright the photographs because “every marketing campaign we
have, we copyright.” A search of the U.S. Copyright Office database shows that MSTM secured copyrights on written
materials in 2020, but nothing before the 2019 registration. See https://cocatalog.loc.gov/cgi-
bin/Pwebrecon.cgi?Search_Arg=military+sexual&Search_Code=NALL&PID=IGvfsKREcdWCmut2g9H43ghVjfG
T&SEQ=20200609195107&CNT=25&HIST=1




                                                     - 28 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 29 of 52




       77.       Additionally, Defendants’ continued indications that Plaintiffs Hubay and Dorantes

remain associated with MSTM falsely connect the Plaintiffs to the protest at the Marine

Commandants’ house. See DJ Transcript, May 8, 2020, pg. 98-99, 197, 214.

       78.       By live streaming Defendant Mendez protesting outside of the Marine Corps

Commandant’s Barracks on September 14, 2019, where targeted and distinct threats were made

directed towards the USMC and Commandant, MSTM cultivated a reputation seen as anti-

military. See DJ Transcript, May 8, 2020, pg. 98-99, 197, 214; see also Plaintiffs’ Declaratory

Judgment Hearing Exhibit 26 (“I will come for you!”).

       79.       Specifically, Plaintiff Dorantes’ husband is currently on active duty in the USMC

and is enrolled in an officer training program. The continued use and publication of her name and

likeness on the Defendants’ website and social media accounts falsely associates her with anti-

military sentiment and could risk her military benefits and her family’s livelihood. This false

association has required Plaintiff Dorantes to disassociate herself with her husband on various

social media platforms for fear of retaliation. See DJ Transcript, May 8, 2020, pg. 197-99, 207.

Plaintiffs Hubay and Herrick testified to similar concerns. See DJ Transcript, May 8, 2020, pg. 94-

95, 234-35.

       80.       Other individuals also resigned and/or disassociated with MSTM after the

demonstration at the Commandant’s Barracks evidencing the negative reaction to Defendants’

violent and threatening protest and conflicts within the organization. See DJ Transcript, May 8,

2020, pg. 200.

       81.       As such, Defendants’ continued use and publication of the likenesses/names of

Plaintiffs Hubay and Dorantes puts these Plaintiffs in a false light by conveying that these Plaintiffs

remain associated with MSTM and the individual Defendants.



                                                - 29 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 30 of 52




       82.     Defendants have testified that they do not seek to use or claim rights in the

likenesses and names of Plaintiffs, and that such uses have ceased. See DJ Transcript, May 13,

2020, pg. 76-79. Thus, Defendants have conceded that they do not have rights or consents to use

such likenesses and names.

       L.      MSTM Trademarks Do Not Convey Copyright Ownership to MSTM.

       83.     MSTM obtains no rights in the Losieniecki Photographs by virtue of any MSTM

trademark.

       84.     Defendant MSTM has two (2) New York state trademark registrations for two

MSTM logos relating to the following services: “MSTM logo is used to promote MSTMs brand

as a non-profit that is working to enact laws to protect victims and survivors of Military Sexual

Trauma. We provide advocacy services to survivors of MST, through awareness and lobbying

campaigns.” See Defendants’ Declaratory Judgment Hearing Exhibit 12. The claimed date of first

use of the logos is June 1, 2019. The logos are described but not depicted in the registration. Id.

       85.     Defendant MSTM also filed a federal trademark application for the word mark

MILITARY SEXUAL TRAUMA MOVEMENT for the following services: “Promoting public

awareness of military sexual trauma; promoting the interests of survivors of military sexual trauma

by means of public advocacy; lobbying services, namely, promoting the interests of survivors of

military sexual trauma in the field of politics and legislation.” Id. The claimed date of first use of

this mark is June 1, 2019. Id. The application was amended to the Supplemental Register on March

25, 2020, and the word “MOVEMENT” is disclaimed. Id.

       86.     The Supplemental Register is a second trademark register where trademarks can be

registered that are not yet eligible for registration on the Principal Register, but may, over time,

become an indicator of source. Marks registered on the Supplemental Register, like those



                                                - 30 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 31 of 52




registered on the Principal Register, are protected against conflicting marks in later-filed USPTO

applications. However, Supplemental Register registrations do not receive the same legal

advantages      and     presumptions       of      Principal     Register     registrations.    See

https://www.uspto.gov/trademark/laws-regulations/how-amend-principal-supplemental-register-

1.

       87.     Defendants have made no allegation and have introduced no testimony or evidence

that Plaintiffs are using any of MSTM’s trademarks to convey a false association with MSTM or

otherwise confuse supporters of MSTM. Indeed, there is no allegation or evidence that, since

Plaintiffs resignation from MSTM, Plaintiffs have used the logos of MSTM in any manner and,

aside from this litigation, have used “MILITARY SEXUAL TRAUMA MOVEMENT”.

III.   CONCLUSIONS OF LAW

       A.      Copyright Infringement

       1.      "To establish a claim of copyright infringement, a plaintiff must establish: (1)

ownership of a valid copyright; and (2) unauthorized copying of original elements of the plaintiff's

work." Dun & Bradstreet Software Servs., Inc. v. Grace Consulting, Inc., 307 F.3d 197, 206 (3d

Cir.2002).

       2.      Defendants do not dispute that they copied, distributed and published the

Registered Photographs. Instead, they challenge whether Plaintiff Losieniecki owns the copyright

to the Registered Photographs. Absent such ownership, Defendants’ copying, distribution and

publication of the Registered Photographs is not unauthorized.

       3.      The issue of copyright ownership by Plaintiff Losieniecki turns on whether Mr.

Losieniecki has the legal status as an employee of MSTM when he authored the Registered

Photographs – such that the Registered Photographs constitute a “work made for hire” of MSTM.



                                                - 31 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 32 of 52




       4.     As Plaintiff, Mr. Losieniecki meets his burden of proof on establishing ownership

through his copyright registration (which predated the registration obtained by MSTM); the burden

then shifts to Defendants to demonstrate why his registration is invalid. Autoskill v. National

Educational Support Systems, 994 F. 2d 1476, 1487-89 (10th Cir. 1993).

       5.     For the reasons discussed below, the Registered Photographs are owned by Mr.

Losieniecki, he was not an employee of MSTM when he took the photographs, and the

Photographs are not a “work made for hire” of MSTM.

       6.     First, under the findings of fact set forth above, Plaintiff Losieniecki did not agree

to provide photography services to MSTM as either an employee or independent contractor.

       7.     Nonetheless, Defendants rely solely upon an assertion that a like-kind exchange

between Mr. Losieniecki and MSTM occurred, thereby creating an employment relationship.

Defendants assert that Mr. Losieniecki was provided lodging during the DC Trip in exchange for

his services as a photographer. Even if Mr. Losieniecki “agreed” to such an exchange, he did not

have the status of an employee with MSTM.

       8.     Pursuant to the Copyright Act, 17 U.S.C. § 101, in order for intellectual property to

be considered a “work made for hire” it must be:

       (1)    a work prepared by an employee within the scope of his or her employment;
       or

       (2)      a work specially ordered or commissioned for use as a contribution to a
       collective work, as a part of a motion picture or other audiovisual work, as a
       translation, as a supplementary work, as a compilation, as an instructional text, as
       a test, as answer material for a test, or as an atlas, if the parties expressly agree in
       a written instrument signed by them that the work shall be considered a work
       made for hire.

       9.     The standard for “specially ordered or commissioned” work is not met in this case.




                                                - 32 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 33 of 52




         10.   First, photographs do not fall within the nine listed types of work set forth in the

definition of “work made for hire.” Community for Creative Non-Violence, et al. v. Reid, 490 U.S.

730, 747 n.13 (1989) (“An attempt to add ‘photographic or other portrait[s],’ S. Rep. No. 94-473,

p. 4 (1975), to the list of commissioned works eligible for work for hire status failed after the

Register of Copyrights objected [because] photographers are among the most vulnerable and

poorly protected of all the beneficiaries of the copyright law....”).

         11.   Second, Plaintiff Losieniecki and MSTM parties did not “expressly agree in a

written instrument signed by them that the work shall be considered a work made for hire.” See

17 U.S.C. § 101(2). Defendants do not assert or even imply that any such written agreement

existed between Mr. Losieniecki and Defendant MSTM. Indeed, Defendant Mendez insisted that

a written agreement was not necessary as MSTM’s claim to the copyright was based on Mr.

Losieniecki’s employment. See DJ Transcript, May 13, 2020, pg. 62, 71-72.

         12.   Plaintiff Losieniecki also was not an employee of MSTM for the reasons set forth

below.

         13.   The United States Supreme Court provided direction and instruction on whether an

employment relationship exists. However, “payment” alone does not create a written agreement

or a “work made for hire” relationship. Community for Creative Non-Violence v. Reid, 490 U.S.

730 (1989) (“CCNV”).

         14.   In CCNV, a homeless charity paid a sculptor named James Earl Reid for a statue

that depicted the plight of homeless people for a Christmas pageant in Washington, D.C., called

"Third World America.” Id. at 732. The Supreme Court held that common law agency principles

should be applied to decide whether a work is made by an employee or an independent contractor

under the Copyright Act. Id. at 751. The Court listed twelve determinative factors, including [1]



                                                - 33 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 34 of 52




the skill required; [2] the source of the instrumentalities and tools; [3] the location of the work; [4]

the duration of the relationship between the parties; [5] whether the hiring party has the right to

assign additional projects to the hired party; [6] the extent of the hired party's discretion over when

and how long to work; [7] the method of payment; [8] the hired party's role in hiring and paying

assistants; [9] whether the work is part of the regular business of the hiring party; [10] whether the

hiring party is in business; [11] the provision of employee benefits; [12] and the tax treatment of

the hired party. Id. at 751-52.

        15.     Importantly, the Supreme Court held “[n]o one of these factors is determinative” of

whether an individual can be considered an employee. CCNV, 490 U.S. at 752. However, “the

extent of control the hiring party exercises over the details of the product is not dispositive.” Id.

        16.     Based on a discussion of these factors, the Court held Reid was an independent

contractor. Reid supplied his own tools, was without any extensive supervision, and was free in

the way he met his deadlines. CCNV could not assign more projects to Reid and paid him in the

normal manner independent contractors are done. CCNV, 490 U.S. at 752-53.

        17.     The United States Copyright Office has provided a Circular that discusses the

application of CCNV to potential works made for hire. See Circular 9, United States Copyright

Office, “Works Made for Hire”, Sept. 2012, https://www.copyright.gov/circs/circ09.pdf.

        18.     Importantly, Circular 9 notes that “[t]he closer an employment relationship comes

to regular, salaried employment, the more likely it is that a work created within the scope of that

employment will be a work made for hire.” See id at pg. 2.

        19.     Our research has revealed no case law providing for an exception to the general test

set forth in CCNV as it pertains to determining whether volunteers are employees or independent

contractors when associating with nonprofit organizations. See Bryson v. Middlefield Volunteer



                                                 - 34 -
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 35 of 52




Fire Dep't, Inc., 656 F.3d 348, 352 (6th Cir. 2011) (applying CCNV factors when determining

whether a volunteer could be considered an employee); see also Todaro v. Township of Union, 27

F. Supp. 2d 517, 537 (N.J. 1998) (“The Court reiterates its frustration with attempting to apply this

employee/independent contractor distinction when trying to distinguish employees from

volunteers.”). More directly, there is no legal support for Defendants’ position that volunteers in

an “all volunteer” organization must be considered as employees under Section 101 of the

Copyright Act.

          20.    Further, as set forth in Findings of Fact 10, MSTM contemplated that it would have

employees in its By-Laws and separately designated employees and volunteers in its fraternization

policy.

          21.    The factors set forth in CCNV are discussed below.11

          22.    Factor One: Plaintiff Losieniecki is not a professional photographer, and

Defendants have offered no proof that Plaintiff Losieniecki is regularly engaged and paid as a

photographer. See Finding of Fact 56. This factor does not support an employee relationship.

          23.    Factor Two: Plaintiff Losieniecki provided the camera and camera SIM cards for

the photographs that he took on the DC trip. See Finding of Fact 57. No supplies were provided

by MSTM. This factor does not support an employee relationship.

          24.    Factor Three: The photographs were taken at various public venues in Washington,

D.C. This factor does not support an employee relationship.




11
  As Plaintiffs’ have provided a valid copyright for the photographs at issue that was certified prior to Defendants’
invalid copyright, the burden is on Defendants’ to rebut Plaintiffs’ copyright and the employment status of Plaintiff
Losieniecki. See Autoskill, Inc. v. Nat'l Educ. Support Sys., 994 F.2d 1476, 1488-89 (10th Cir. 1993), overruled on
other grounds, TW Telecom Holdings Inc. v. Carolina Internet Ltd., 661 F.3d 495, 497 (10th Cir. 2011).



                                                       - 35 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 36 of 52




       25.      Factor Four: The relationship was of limited duration. Mr. Losieniecki took

photographs over two days in Washington, D.C. See Finding of Fact 32. This factor does not

support an employee relationship.

       26.      Factor Five: Defendants have provided no evidence that, at any time before, during

or after the DC Trip, Defendants Mendez, Heal or MSTM had the right to assign additional tasks

and/or projects to benefit MSTM to Plaintiff Losieniecki. This factor does not support an employee

relationship.

       27.      Factor Six: In addition to asserting an exchange of lodging for services, Defendants

assert that they had some discretion over when and how long to work. Plaintiff Losieniecki

disagrees that Defendants provided any direction; instead, he testified that he either followed the

lead of Ms. Schroeder or his own choice. See Findings of Fact 60. To the extent that Defendants

chose colors to wear or organized certain formations, such actions did not provide direction to

Plaintiff Losieniecki on where to take a photograph, what shutter speed or other camera settings

to use. Also, again, “the extent of control the hiring party exercises over the details of the product

is not dispositive.” Id. This factor does not support an employee relationship.

       28.      Factor Seven: Plaintiff Losieniecki did not receive regular pay from MSTM and

MSTM asserts that he only received donated lodging in exchange for services (which Plaintiffs

deny). This “quid pro quo” is nowhere confirmed in writing with Plaintiff Losieniecki. See

Findings of Fact 24, 52-53, 55. This factor does not support an employee relationship.

       29.      Factor Eight: Plaintiff Losieniecki did not testify to having any assistants or the

ability to hire assistants. This factor does not support an employee relationship.

       30.      Factor Nine: MSTM is not in the business of photography. See Findings of Fact 63.

This factor does not support an employee relationship.



                                                - 36 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 37 of 52




        31.      Factor Ten: Like in CCNV, MSTM is not a business at all. See Findings of Fact 63.

This factor does not support an employee relationship.

        32.      Factor Eleven: Plaintiff Losieniecki did not receive any employee benefits from

MSTM and Defendants have provided no evidence to the contrary. See Findings of Fact 64. This

factor does not support an employee relationship.

        33.      Factor Twelve: Plaintiff Losieniecki did not receive any W-2 or other tax forms

from MSTM. See Findings of Fact 64. This factor does not support an employee relationship.

        34.      In sum, therefore, Plaintiff Losieniecki does not meet the legal definition of an

employee of MSTM under the Copyright Act. Even if he received some payment from MSTM

and was controlled, in part, by MSTM, the facts in this case are directly analogous to the facts and

application of factors in CCNV. This conclusion is consistent with the fact that Gwen Schroeder

was not an employee MSTM despite having received free housing from MSTM because she

received no other compensation from MSTM and did not have a written agreement with MSTM. 12

        35.      Unlike copyright law, trademark law as such does not restrict the use of a trademark

in a photograph. What trademark law does forbid is using a trademark in a way that can cause

confusion regarding the affiliation of the trademark owner to the image. If consumers are likely to

mistakenly believe that a photograph was sponsored by the trademark owner, then there may be

trademark infringement. See The Rock and Roll Hall of Fame, Inc., et al. v. Gentile Productions,

et al., 134 F.3d 749, 756 (6th Cir. 1998) (generally discussing the existence of a claimed trademark

in a photograph and recognizing that “the touchstone will be the likelihood of customer confusion”


12
   MSTM had developed at least two types of media consent forms, as discussed in Findings of Fact 27 above. Thus,
it has knowledge of the need for written confirmation as to the release of rights. Other volunteer-based organization
have required “work made for hire” agreements with volunteers to avoid issues of employee status. See
https://www.sierraattahoe.com/uploaded/pdf/sierraattahoe-employee-handbook-201819.pdf. MSTM took no such
steps with Mr. Losieniecki, however.



                                                       - 37 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 38 of 52




and that “the Lanham Act only prevents him [the photographer] from "using in commerce" his

photograph of the trademark in such a way as to cause a "likelihood of confusion" in the market

place.”). See also L. Verbauwhede, Legal Pitfalls in Taking or Using Photographs of Copyright

Material, Trademarks and People, World Intellectual Property Organization, Section 2.1 – Can

you          freely       take         photographs          that      include      trademarks?,

https://www.wipo.int/sme/en/documents/ip_photography_fulltext.html#2.1 (last visited June 9,

2020) (“Example: Printing a photograph containing the Nike trademark on sportswear could result

in trademark infringement. In fact, by such use it would be assumed that you are trying to

appropriate some of the goodwill associated with the Nike trademark. Consumers will presumably

think that the fabrics are affiliated with the Nike trademark.”).

       36.      The existence of any MSTM trademarks in any photographs taken by Mr.

Losieniecki does not convey any rights of ownership or copyright interests in those photographs

to MSTM.

       37.      Mr. Losieniecki’s ownership of photographs in which an MSTM trademark is

shown does not, by itself, infringe on any trademark rights of MSTM.

       38.      Further, MSTM’s state trademark registrations provide rights of enforcement

within the state of New York only.

       39.      Therefore, Plaintiff Robert Losieniecki has the exclusive right to ownership,

control, and use of all photographs he took at the September Washington, D.C. trip (the “D.C.

Photos”), including the twenty-six (26) photographs identified in Plaintiffs’ Complaint and

attached as Exhibits A – ZZ thereto (the “Registered Photographs”).

       40.      The copyright registration owned by Robert Losieniecki identified as VA 2-173-

194 and effective October 9, 2019 titled “DC 2019” for the Registered Photographs is valid.



                                                - 38 -
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 39 of 52




         41.      The copyright registration filed on behalf of Military Sexual Trauma Movement,

Inc. (“MSTM”) identified as VA 2-176-197 and dated October 31, 2019 and titled “Military Sexual

Trauma Movement takes on Washington D.C.” is invalid and should be stricken from the

registration records of the U.S. Copyright Office. See Kunkel v. Jasin, 420 Fed. Appx. 198, 199

(3d Cir. 2011) (copyright registration invalid if based on material misstatement). 13

         42.      MSTM has no right to ownership, control, and use of any photographs taken by

Plaintiff Losieniecki during the DC Trip, including the Registered Photographs.

         43.      MSTM and Defendants Mendez and Heal do not have an exclusive license to the

photographs taken by Plaintiff Losieniecki during the DC Trip, including the Registered

Photographs.

         44.      The Defendants Janelle Marina Mendez, Pamela Heal, and MSTM infringed upon

Mr. Losieniecki’s copyright in the Registered Photographs by copying, publishing, and

distributing Plaintiff Losieniecki’s Registered Photographs without his consent and after notice of

Plaintiff Losieniecki’s rights.

         45.      Defendants acted willfully in connection with their infringement of Plaintiff

Losieniecki’s copyright. See Sony BMG Music Entm't v. Tenenbaum, 660 F.3d 487, 507 (1st Cir.

2011) (noting that willful infringement only requires a showing that defendants “knowingly”

infringed the copyrighted product).




13
   Similarly, the determination of the Copyright Office as to the MSTM registration is not entitled to deference because
it was based on false information and is not reasonable. Krist v. Scholastic, Inc. 415 F.Supp.3d 514, 525-26 (E.D. Pa.
2019) (recognizing that Skidmore deference to determinations of the Copyright Office can apply on a discretionary
basis in view of considerations of validity, reasonableness and thoroughness of decision).



                                                        - 39 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 40 of 52




         B.    Right to Privacy

         46.   Plaintiffs Losieniecki, Hubay and Dorantes seek redress for invasion of their rights

of privacy under the common law and based on two separate “wrongs” by defendants: (1)

appropriation by MSTM and the individual Defendants for their own use or benefit the name or

likeness of Plaintiffs Losieniecki, Hubay and Dorantes, and (2) placing these Plaintiffs in a false

light.

         47.   Defendants have testified that they do not seek to use or claim rights in the

likenesses and names of Plaintiffs, and that all such uses have been removed from the MSTM

website and other social media. This testimony appears to render as moot the issue of whether

Defendants have consent to use the likenesses and names, as well as the need for prospective relief.

However, use of the Plaintiffs’ likenesses and names by Defendants continues, and damage issues

remain. Thus, Plaintiffs continue to seek declaratory relief as to their right to privacy claims.

               1.      Choice of Law

         48.   As noted above, the Plaintiffs Losieniecki, Hubay and Dorantes currently reside in

two (2) separate states: Pennsylvania and Florida. Defendants MSTM and Mendez reside in New

York and, at the time of filing this action, Defendant Heal resided in California. This presents an

interesting choice of law analysis as to the privacy interests asserted by Plaintiffs.

         49.   In a diversity action, a district court must apply the choice of law rules of the forum

state in which the court sits. Klaxon Co. v. Stentor Electric Mfg. Co., 313 U.S. 487, 496 (1941);

LeJeune v. Bliss-Salem, Inc., 85 F.3d 1069, 1071 (3d Cir. 1996). Thus, Pennsylvania's choice of

law rules govern this case.

         50.   The Pennsylvania Supreme Court has adopted a "flexible" approach to choice of

law issues in tort cases. Griffith v. United Air Lines, Inc., 416 Pa. 1, 203 A.2d 796 (1964). This



                                                - 40 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 41 of 52




approach "permits analysis of the policies and interests underlying the particular issue before the

court," in order to "allow the forum to apply the policy of the jurisdiction most intimately

concerned with the outcome of [the] particular litigation." Id. at 21-22, 203 A.2d at 805-06 (internal

quotations and citations omitted).

       51.     The Court must determine "the extent to which one state rather than another has

demonstrated, by reason of its policies and their connection and relevance to the matter in dispute,

a priority of interests in the application of its rule of law." Myers v. Commercial Union Assurance

Companies, 506 Pa. 492, 485 A.2d 1113, 1115 (1984).

       52.     In resolving the choice of law question, the Third Circuit has stated that

Pennsylvania's flexible approach incorporates the contacts analysis of the Restatement (Second)

of Conflict of Laws (1971) and the interest analysis underlying the policies of the particular states

concerned with the controversy. Carrick v. Zurich-American Insurance Group, 14 F.3d 907, 909

(3d Cir. 1994) (citing Lacey v. Cessna Aircraft Co., 932 F.2d 170, 187 (3d Cir. 1991); Teti v.

Huron Insurance Co., 914 F. Supp. 1132, 1134-35 (E.D. Pa. 1996).

       53.     This hybrid analysis "takes into account both the grouping of contacts with the

various concerned jurisdictions and the interests and policies that may be validly asserted by each

jurisdiction." Blakesley v. Wolford, 789 F.2d 236, 239 (3d Cir. 1986).

       54.     Application of this two-pronged significant contacts and significant interests

analysis dictates that Pennsylvania law governs all claims and defenses in this case.

       55.     First, this Honorable Court must determine what the relevant jurisdictions are for

consideration. Pennsylvania, Florida, and California all recognize common law invasion of




                                                - 41 -
           Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 42 of 52




privacy. See Cason v. Baskin, 20 So. 2d 243 (Fla. 1944)14; Vogel v. W.T. Grant Co., 458 Pa. 124

(1974); Alim v. Superior Court, 185 Cal. App. 3d 144 (1986). However, pursuant to statute, New

York has a more limited cause of action for invasion of privacy than Pennsylvania. See N.Y. Civ.

Rights Law § 51. As such, this analysis will focus on Pennsylvania and New York law.

         56.      Section 145 of the Restatement (Second) Conflict of Laws sets forth the general

principles to be applied in choice of law determinations in tort actions. See Laconis v. Burlington

County Bridge Com'n, 583 A.2d 1218, 1223-24 (Pa. Super. 1990), appeal denied, 600 A.2d 532

(Pa. 1991), cert. dismissed, 503 U.S. 901 (1992).

         57.      Section 145 provides that the rights and liabilities of the parties in a tort action

should be determined by the law of the state with the most significant relationship to the parties

and to the occurrence. Restat 2d of Conflict of Laws, § 145. In order to determine which state has

the most significant relationship, a court should evaluate contacts which include the place of injury,

the place where the conduct causing the injury occurred, the domicile, residence, nationality, place

of incorporation and place of business of the parties, and the place where the relationship between

the parties is centered. Id.

         58.      The weight of the contacts is to be measured qualitatively rather than quantitatively;

that is, the contacts are relevant to the extent that they "relate to the policies and interests

underlying the particular issue before the court." Cipolla v. Shaposka, 267 A.2d 854, 856 (Pa.

1970).




14
  Florida does not recognize false light invasion of privacy as a stand-alone cause of action and instead has determined
that false light and defamation have “substantial overlap.” See Jews for Jesus, Inc. v. Rapp, 997 So. 2d 1098, 1113
(Fla. 2008) (noting that a majority of states have recognized the false light cause of action). Florida does recognize a
cause of action under Section 652C of the Restatement (Second) of Torts for appropriation of name or likeness. Allstate
Ins. Co. v. Ginsberg, 863 So.2d 156, 160-61 (Fla.2003).



                                                        - 42 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 43 of 52




        59.     Furthermore, Section 153 of the Restatement (Second) Conflict of Laws

specifically details the considerations of choice of law when there are multistate invasion of

privacy considerations. Restat 2d of Conflict of Laws, § 153.

        60.     Section 153 “calls for application of the local law of the state where the plaintiff

was domiciled at the time when his privacy was invaded unless, with respect to the particular issue,

some other state has a more significant relationship to the occurrence and the parties.” Id at cmt.

b.

        61.     The “rules of privacy are intended to protect a person's interest in being let alone.

When there has been publication in two or more states of an aggregate communication that invades

a person's right of privacy, at least most issues involving the tort should be determined by the local

law of the state where the plaintiff has suffered the greatest injury. This will usually be the state of

the plaintiff's domicile if the matter complained of has there been published.” Restat 2d of Conflict

of Laws, § 153, cmt. d.

        62.     As discussed above, Defendants MSTM and Mendez are domiciled in New York,

while Plaintiffs Hubay and Losieniecki are domiciled in Pennsylvania. Publication of the

photographs and likenesses at issue occurred in numerous states by the very act of publishing them

on a public internet website. However, pursuant to Section 153 of the Restatement (Second)

Conflict of Laws, the forum state of this action, coupled with the residency of two of the three

Plaintiffs asserting invasion of privacy claims should be determinative. As such, Pennsylvania law

should be applied in this action.

        63.     Second, the interest analysis focuses on each relevant state's interests in application

of its law so that the court can determine the state with the most significant interest in the litigation.

Melville v. American Home Assur. Co., 584 F.2d 1306, 1311 (3d Cir. 1978). Under this approach,



                                                  - 43 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 44 of 52




“the extent to which one state has demonstrated, by reason of its policies and their connection and

relevance to the matter in dispute, a priority of interest in the application of its rule of law'" is of

paramount consideration. Eimers v. Honda Motor Co., Ltd., 785 F. Supp. 1204, 1208 (W.D. Pa.

1992) (quoting McSwain v. McSwain, 215 A.2d 677, 682 (Pa. 1966)).

        64.     In general, "the policy consideration underlying tort laws is the protection of

persons and property from losses resulting from injury." Palco Linings, Inc. v. Pavex, Inc., 755 F.

Supp. 1269, 1270 (M.D. Pa. 1990). Specifically, "rules of privacy are intended to protect a person's

interest in being let alone." Restatement (Second) § 153, cmt. d.

        65.     “Pennsylvania has expressed a strong interest in deterring inhabitants of its state,

as well as non-residents, from invading the privacy of others, even when the injury occurs outside

the state and in providing for remedies for privacy torts.” Walker by Walker v. Pearl S. Buck

Found., 1996 WL 706714, 1996 U.S. Dist. LEXIS 17927, *25 (E.D. Pa. Dec. 3, 1996).

        66.     On the other hand, New York has expressed little or no interest in preventing

invasions of privacy which occur outside its borders, as evidenced by the limited protections

provided by the New York invasion of privacy statute, which affords protection only in cases in

which the portrait or picture of an individual is "used within this state [of New York]." See N.Y.

Civ. Rights Law § 51.

        67.     As the interest in the privacy rights asserted by Plaintiffs Hubay, Losieniecki, and

Dorantes are best served by the application of Pennsylvania law, Pennsylvania law should control

in this case.




                                                 - 44 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 45 of 52




               2.      Right to Privacy Claims

       68.     Counts II and III of the Complaint set forth separate claims for invasion of privacy.

       69.     Pennsylvania courts have adopted all four privacy torts as set forth in the

Restatement (Second) of Torts, § 652, including the torts for (1) appropriation of name or likeness,

and (2) publicity placing person in false light. VOGEL et al. v. WT Grant Company, 458 Pa. 124,

129-30, fn 9 (Pa 1974); see also Jenkins v. Bolla, 600 A. 2d 1293 (Pa: Super. 1992).

       70.     Section 652C defines the tort for appropriation of name or likeness as “One who

appropriates to his own use or benefit the name or likeness of another is subject to liability to the

other for invasion of his privacy.” Id.

       71.     Comment b to Section 652C states that “use or benefit” does not have to be a

commercial use:

       The common form of invasion of privacy under the rule here stated is the
       appropriation and use of the plaintiff's name or likeness to advertise the defendant's
       business or product, or for some similar commercial purpose. Apart from statute,
       however, the rule stated is not limited to commercial appropriation. It applies also
       when the defendant makes use of the plaintiff's name or likeness for his own
       purposes and benefit, even though the use is not a commercial one, and even though
       the benefit sought to be obtained is not a pecuniary one.

       72.     Illustration 5 of Section 652C of the Restatement (Second) of Torts confirms the

liability of Defendants under this section. Specifically, Illustration 5 states: “Without the consent

of A, B signs A’s name to a telegram that he sent to the governor of the state, urging the governor

to veto a bill that B finds objectionable. This is an invasion of A’s privacy.” This Illustration is

based on Steding v. Battistoni, 208 A.2d 559 (Conn. Cir. Ct. 1964) (a person's identity is a valuable

commodity that should not be exploited absent the permission of its owner); see also Rose v. Triple

Crown Nutrition, Inc., 2007 U.S. Dist. LEXIS 14785, *5 (M.D. Pa.. Mar. 2, 2007) (denying




                                               - 45 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 46 of 52




defendant’s Motion to Dismiss invasion of privacy claim where defendant allegedly used a

photograph of the plaintiff in its advertisements without consent).

       73.     Similarly, Defendants have used, and continue to use, Plaintiffs’ likenesses and

names to promote and market MSTM and its political goals. Such uses have included uses of the

names of Plaintiffs’ Hubay and Dorantes on a letter to Senator McSally that was available on the

MSTM website. See Plaintiffs’ Declaratory Judgment Hearing Exhibit 5 (letter at Ex. HH thereto)

and Exhibit 12, p. 35. The past and continuing use of Plaintiff’s likenesses to promote and benefit

MSTM are analogous to the facts of Illustration 5.

       74.     As such, Plaintiffs are entitled to declaratory relief on their claim for appropriation

of names and likenesses.

       75.     Additionally, under Pennsylvania law, the right of privacy false light tort under

Section 652E is defined as “[o]ne who gives publicity to a matter concerning another that places

the other before the public in a false light is subject to liability to the other for invasion of his

privacy, if (a) the false light in which the other was placed would be highly offensive to a

reasonable person, and (b) the actor had knowledge of or acted in reckless disregard as to the falsity

of the publicized matter and the false light in which the other would be placed. Restatement

(Second) of Torts, § 652E; Neish v. Beaver Newspapers, Inc., 581 A.2d 619, 624 (Pa. Super.

1990) ("a publication is actionable if it is not true, is highly offensive to a reasonable person and

is publicized with knowledge or in reckless disregard of its falsity"); see also Meyers v. Certified

Guar. Co., LLC, 221 A.3d 662, 673 (Pa. Super. 2019).

       76.     "[U]nlike the law of defamation . . . false light invasion of privacy offers redress

not merely for the publication of matters that are provably false, but also for those that, although




                                                - 46 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 47 of 52




true, are selectively publicized in a manner creating a false impression." Krajewski v. Gusoff, 53

A.3d 793, 806 (Pa. Super. 2012).

       77.      Comment b to Section 652E states:

       It is not, however, necessary to the action for invasion of privacy that the plaintiff
       be defamed. It is enough that he is given unreasonable and highly objectionable
       publicity that attributes to him characteristics, conduct or beliefs that are false, and
       so is placed before the public in a false position. When this is the case and the matter
       attributed to the plaintiff is not defamatory, the rule here stated affords a different
       remedy, not available in an action for defamation.

See Restat. 2d Torts , § 652E, cmt. b.

       78.      The Pennsylvania Superior Court has held that this section of the Restatement is a

part of the law of Pennsylvania but that the contours of the tort created thereby are

amorphous. Larsen v. Philadelphia Newspapers, 543 A.2d 1181, 1188 (Pa. Super. 1988). "The

interest protected by this Section is the interest of the individual in not being made to appear before

the public in an objectionable false light or false position ..." Restatement (Second) of Torts §

652E, cmt. b.

       79.      Florida courts recognize a tort claim under 652C, but not a false light claim. Cf.

Allstate Ins. Co. v. Ginsberg, 863 So.2d 156, 160-61 (Fla.2003); Agency for Health Care Admin.

v. Associated Industries of Fla., Inc., 678 So.2d 1239, 1252 n. 20 (Fla. 1996), with Jews for Jesus,

Inc. v. Rapp, 997 So. 2d 1098, 1115 (Fla. 2008).

       80.      Illustration 4 of Section 652E of the Restatement (Second) of Torts confirms the

liability of Defendants under this section. Specifically, Illustration 4 states: “A is a Democrat. B

induces him to sign a petition nominating C for office. A discovers that C is a Republican and

demands that B remove his name from the petition. B refuses to do so and continues public

circulation of the petition, bearing A’s name. B is subject to liability to A for invasion of privacy.”




                                                - 47 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 48 of 52




See Steding, supra; Battaglia v. Adams, 164 So.2d 195, 197 (Fla. Sup. Co. 1964) (ruling in favor

of a candidate who requested that his name not be placed on ballot without and stating that “nothing

so exclusively belongs to a man or is so personal and valuable to him as his name, inasmuch as his

reputation and the character he has built up are inseparably connected with it”).

       81.     The facts here are directly analogous. Plaintiffs specifically disagreed with

Defendants’ political agenda of making personal threats to the Marine Commandant, but, even

after resignation, Defendants continue to associate Plaintiffs’ likenesses and names with

MSTM. Also, the continued association with an organization having contrary public goals is

similarly offensive. See Findings of Fact 76-82.

       82.     Section 652E applies when “the publicity given to the plaintiff has placed him in a

false light before the public, of a kind that would be highly offensive to a reasonable person. In

other words, it applies only when the defendant knows that the plaintiff, as a reasonable man,

would be justified in the eyes of the community in feeling seriously offended and aggrieved by the

publicity ... It is only when there is such a major misrepresentation of his character, history,

activities or beliefs that serious offense may reasonably be expected to be taken by a reasonable

man in his position, that there is a cause of action for invasion of privacy. Restatement (Second)

of Torts § 652E, cmt. c. In this present case, this element also is met insofar as Plaintiffs were not

the only volunteers to resign from MSTM after the DC Trip. See Findings of Fact 80. Further,

Defendant Mendez testified that MSTM was being targeted for its actions by other groups. See

Findings of Fact 73(c) and (d). Contrary to related testimony by Defendant Mendez, it was she and

not Plaintiff Hubay who coordinate postings into these other groups. See Findings of Fact 73(c).




                                                - 48 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 49 of 52




        83.     Furthermore, in defense of these claims, Defendants assert that the three page

“Consent Form” identified in Findings of Fact 30 provided MSTM with the ability to use,

distribute and profit from Plaintiffs’ likenesses.

        84.     Each of the Plaintiffs denies that they signed the alleged consent form at any time.

However, even assuming that the consent was signed or that any consent was implied by Plaintiffs’

prior association with Defendant MSTM, it is undisputed that Plaintiffs rescinded any such consent

based on events of Sept. 14, 2019. See Findings of Fact 19-20.

        85.     Additionally, the “consent” is notable for what is does NOT provide. First, the

consent form does not provide any consideration for perpetual or irrevocable use of personal

information and contains no term; as such, the consent is indefinite and terminable at will. See

Price v. Confair, 366 Pa. 538 (Pa. 1951) (“The general rule is that when a contract provides that

one party shall render service to another, or shall act as his agent, ... but does not specify a definite

time or prescribe conditions which shall determine the duration of the relation, the contract may

be terminated by either party at will.”) (emphasis in original); Hutchinson v. Sunbeam Coal Co.,

519 A2d 385, 390 n. 5 (Pa. 1986) (Pennsylvania law disfavors perpetual contracts and, thus,

requires a perpetual term to be expressed unequivocally). Cf. Piecknick v. Pennsylvania, 36 F.3d

1250, 1259 (3d Cir. 1994) (“Pennsylvania law, like that of New York, presumes that a contract for

services having no specific term is terminable at will.”).

        86.     In the present case, there is no expressed intention on the part of the parties that,

unlike a model’s release, any consent (express or implied) would be perpetual or could not be

revoked. Moreover, Defendants do not dispute in any way the events of September 14, 2019 or

that, as a result, the Plaintiffs have resigned from the Military Sexual Trauma Movement, Inc.

(“MSTM”), no longer wish to be associated with the MSTM, and have withdrawn any consents.



                                                 - 49 -
          Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 50 of 52




        87.      Second, the consent does not specifically provide for the use of an individual’s

images and/or convey ownership of said images. See Plaintiffs’ Declaratory Judgment Exhibit 25l.

The consent states only that “personally identifiable information” can be used for contact purposes

and that a personal “story” can be used for advocacy. No broader rights exist.

        88.      As such, Defendants’ continued use of the names and likenesses of the Plaintiffs

after September 14, 2019 represents clear misappropriation of Plaintiffs’ names and likenesses for

the benefit of MSTM and also portrays Plaintiffs in a false light, i.e. as individuals still associated

and/or volunteering with MSTM.

        89.      More directly, Defendants shall not be and are not entitled to use the names and

likenesses of Plaintiffs.15

        90.      Plaintiffs Robert Losieniecki, Deidra Hubay, Jessica Dorantes and Alexis Gabrielle

Herrick never entered into a written agreement with MSTM providing any Defendant with the

right to use their names and/or likenesses from any source.

        91.      Furthermore, to the extent that such permission may be implied or inferred as oral

consent during their association with MSTM, Plaintiffs Robert Losieniecki, Deidra Hubay, Jessica

Dorantes and Alexis Gabrielle Herrick effectively terminated any such implied consent on

September 14, 2019 and no later than when the Complaint in this matter was filed.

        92.      Even if Plaintiffs Robert Losieniecki, Deidra Hubay, Jessica Dorantes and Alexis

Gabrielle Herrick signed the Consent Form attached as Exhibit G to Defendants’ Motion to Set

Aside Clerk’s Entry of Default Judgment, this Consent Form does not any rights to MSTM to use

the name and likeness of an executing party and any rights conveyed by this Consent Form were


15
  Defendants, through the testimony of Defendant Mendez, have agreed that they will not use the likenesses and
names of Plaintiffs. See Findings of Fact 73(g). As such, this request for relief does not appear to be in dispute.
However, as set forth below, such use continues.



                                                      - 50 -
         Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 51 of 52




revoked and terminated by and through the resignations of Plaintiffs Deidra Hubay, Jessica

Dorantes and Alexis Gabrielle Herrick on September 14, 2019 and no later than when the

Complaint in this matter was filed.

       93.     Defendants Mendez, Heal, and MSTM used Plaintiffs Hubay, Dorantes, and

Losieniecki’s likenesses and names without permission to promote, benefit and obtain fundraising

for MSTM and after notice of their rights and request for disassociation from MSTM. As such,

Defendants violated the Restatement (Second) of Torts, § 652C as to Plaintiffs.

       94.     Defendants also misappropriated the names and likenesses of Plaintiffs Losieniecki

and Hubay by portraying them in a false light in violation of the Restatement (Second) of Torts, §

652E – namely, that each continued to have an association with MSTM after their resignations

from MSTM.

                                                       Respectfully submitted,

                                                       /s/ Katelin J. Montgomery
                                                       David G. Oberdick
                                                       Pa. I.D. #47648
                                                       Email: dgo@muslaw.com
                                                       Katelin J. Montgomery
                                                       Pa. I.D. #322698
                                                       Email: kjm@muslaw.com

                                                       MEYER, UNKOVIC & SCOTT, LLP
                                                       535 Smithfield Street, Suite 1300
                                                       Pittsburgh, PA 15222
                                                       (412) 456-2800

                                                       Attorneys for Plaintiffs
Dated: June 10, 2020




                                              - 51 -
        Case 2:19-cv-01327-NR Document 63 Filed 06/10/20 Page 52 of 52




                               CERTIFICATE OF SERVICE


       I hereby certify that on June 10, 2020, a true and correct copy of the foregoing

PLAINTIFFS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW was

filed electronically. Parties may access this filing through the Court’s ECF/PACER system.




                                                      /s/ Katelin J. Montgomery
                                                      Katelin J. Montgomery




                                             - 52 -
